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             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA
____________________________________
UNITED STATES OF AMERICA,           )
                                    )
           v.                       ) No. 21-CR-53 (CJN)
                                    )
EDWARD JACOB LANG,                  )
                     Defendant.     )
__________________________________ )


LANG’S MOTION TO RENEW AND RECONSIDER HIS REQUEST FOR
  IMMEDIATE TEMPORARY RELEASE ON AN EXPEDITED BASIS

      Now comes EDWARD JACOB LANG, by and through his undersigned

counsel, and moves this Court to reopen his detention hearing, pursuant to 18 U.S.C.

§ 3142(i), and to order the immediate temporary release of Mr. Lang from pretrial

confinement to the custody of his mother or father, on conditions suitable to the

Court because of the following:

      (1)   Lang has been in solitary confinement, also referred to as “the
            hole” for the last four months after being physically attacked;

      (2)   The trial in this matter has been adjourned to September of 2024;

      (3)   One of the main reasons for the trial extension is because the
            United States Supreme Court, in Fisher v. United States, case #:
            23-5572, granted the petition for a writ of certiorari;

      (4)   Mr. Lang’s writ of certiorari is similar in nature to the issues
            presented in the Fisher case, and thus Lang’s petition is expected



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                to remain pending and will track the Fisher case for an unknown
                period of time1;

         (5)    The length of Defendant Lang’s pretrial confinement is a
                violation of his due process rights which demands immediate
                release; and

         (6)    The conditions of confinement themselves create an environment
                that make Defendant unable to prepare for his own trial, violating
                his right to a fair trial.

         Additionally, Lang renews all his prior arguments and reasoning regarding his

position that he can adequately prepare his defense on pre-trial bond. We

respectfully request this Court consider how substantial this Court’s ruling on his

hybrid representation application means to Lang in preparing his defense. As

already presented to this Court, Lang has a Sixth Amendment right to participate in,

and, indeed, conduct—his own defense. McKaskle v. Wiggins, 465 U.S. 168, 174,

104 S. Ct. 944, 79 L. Ed. 2d 122 (1984) (highlighting “Counsel Clause” of the Sixth

Amendment “implies a right in the defendant to conduct his own defense, with

assistance at what, after all, is his, not counsel’s trial.”); See also Jones v. Barnes,

463 U.S. 745, 751, 103 S. Ct. 3308, 77 L. Ed. 2d 987 (1983) (recognizing that “the

accused has the ultimate authority to make certain fundamental decisions regarding

the case, such as to whether to plead guilty, waive a jury, testify in his or her own




1
    Edward Lang v. United States, Case #: 23-32.
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behalf, or take an appeal”) (citing Wainwright v. Sykes, 433 U.S. 72, 93 n. 1, 97 S.Ct.

2497, 2509 n. 1, 53 L.Ed.2d 594 (1977) (BURGER, C.J., concurring).

      Simply stated, in this matter, Lang seeks to be reheard on his Section 3142 (i)

claims based on how the circumstances have changed over the past few months.

After three years of detention, the only way Mr. Lang can properly assist and prepare

his defense for his upcoming trial is for him to be released on pretrial detention. Over

the course of approximately the next nine months, Lang can make the best of this

time in assisting and preparing his best defense on all aspects.

      There are still hundreds – if not thousands of hours of video to be reviewed

and analyzed. Mr. Lang has not been able to even utilize his access to a laptop

because officers took the charger. For the last seven weeks, Mr. Lang has not had a

charger for his laptop. The inclement weather leaves Lang’s cell at or below 50

degrees. He must wear four layers of clothing to just keep warm. Overall, without a

computer charger, access to Relativity or evidence.com, no light for 72 hours some

weeks, and being freezing cold, Mr. Lang cannot assist in his defense. He does not

have the ability to analyze and highlight the video evidence that is crucial to his case.

There has been a repeated chain of abuses that have formed a pattern, where such

harm cannot be alleviated even if certain conditions were relieved.




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      Therefore, we respectfully request this Court permit the temporary release of

Lang because such release is necessary for preparation of the person’s defense and

for all other compelling reasons. 18 U.S.C. § 3142(i).




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             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA
__________________________________
                                   )
UNITED STATES OF AMERICA,          )
                                   )
           v.                      )  No. 21-CR-53 (CJN)
                                   )
EDWARD JACOB LANG,                 )
                                   )
                   Defendant.      )
__________________________________ )



  LANG’S MEMORANDUM OF LAW IN SUPPORT OF HIS MOTION
        FOR AN IN-PERSON HEARING TO BE RELEASED
            IMMEDIATELY ON PRE-TRIAL BOND




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        Here, it is respectfully submitted that this Court reconsider Section 3142(i) for

the following reasons: First, Lang has been in solitary confinement for the last four

months while at the DC Jail. For the last seven weeks he has not had The

significance of Lang’s last four months in the DC jail, and how his situation has

drastically changed since his last bond application is that, he has remained and was

thrown back in the “hole”.2 Lang has been in “the Hole” for years, but this time is

different. This time Lang has been awaiting an “investigation”, all while he was

attacked by another inmate. Without getting into more detail, various altercations

have occurred with Mr. Lang. He has been attacked and physically assaulted, and as

a result, the DC jail threw Lang in “the hole”, pending investigation – and for his

own safety.

        Second, while he awaits his trial and the US Supreme Court decision on the §

1512 counts in the Fisher case, he can utilize this time adequately to prepare his best

defense. Overall, Lang needs to be a more active member in his own defense under

the Sixth Amendment, which cannot be stressed enough.3


2
  See Dr. Berrill’s Report dated December 22, 2023 attached as Exhibit A (highlighting “Mr. Lang
stated that he has not been outside for six months, has no fresh air in his cell, nor does he have
exposure to sunlight.”).
3
 Mr. Lang needs to be able to assist in his defense obtaining all his trial witnesses and trial exhibits;
not to mention he must be a more active participant in reviewing his discovery as to assist his
defense in conducting theories for his defense and cross examination questioning, such examples
do not include his ability to frame a complete defense. Additionally, Lang wishes to testify on his
own behalf at his trial, and such pretrial measures need to be taken seriously and take time to
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                                I.   LAW AND ARGUMENT

                RESPECTFULLY, LANG REQUESTS HIS SECTION 3142 (i)
                APPLICATION BE RECONSIDERED BY THIS HONORABLE
                COURT BECAUSE HIS CIRCUMSTANCES HAVE
                DRASTICALLY CHANGED SINCE.

         A defendant’s inability to review discovery or trial evidence in jail is the locus

classicus for temporary release under § 3142(i). See United States v. Persico, No.

84-cr-809 (JFK); U.S. Dist. LEXIS 27586, 1986 WL 3793, at p. 1 (S.D.N.Y. Mar.

27, 1986) (reviewing cases in which “temporary releases of defendants therein were

granted prior to trial in order to facilitate the defendants’ expeditious preparation for

trial and thus to promote the prompt disposition of the charges against each

defendant” where “[t]he concern in each case was that, given the admittedly limited

access to telephones and attorney conference rooms at the detention facilities, the

effective preparation of a defense might have been impossible in the short time

available before the commencement of trial”).

    A.      The Length and Conditions of Confinement Warrant Release

         Lang’s case encompasses a substantial length of confinement thus far, and it

will still take some time before trial commences. These factors should weigh in favor

of pretrial release at this point. First, his access to discovery can be substantially




perfect his best defense. Lang is in a unique position to substantially assist in each of these factors,
which are examples and an non-exhaustive list of him being an asset to his own defense.
                                            Page 7 of 22
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improved on pretrial bond. Second, Lang’s ability to assist in his defense will also

be vital moving forward. Lang can assist in obtaining witnesses on his behalf and

work with them more closely, and daily. Third, Bond eliminates the possibility of

him losing all of his paperwork and notes each time he is transferred jails or moved

in and out of “the hole”. Fourth, Lang’s communication with his attorneys can be

much better managed and conducted while out on bond. Overall, Lang just wants to

prepare for trial, without any further interference or unnecessary interaction.

      As the Court knows, Lang was transported to – and from – several jails and

has had his discovery documents mishandled, lost, and destroyed.

      Currently, Lang is in solitary confinement, and has been for the last four

months. He remains in a dangerous atmosphere, where his property can be lost,

destroyed, or taken from him at any time, including his access to a computer – which

this Court ordered that he have access to daily.

      Due to the disparity in resources and the inability to prepare, Lang cannot

possibly assist in his defense and utilize all the positives in having hybrid

representation. These factors are vital in preparing a viable defense against the

government, in this case.

      Here, Lang would be released to the residence of his mother or father, who

would serve as his third-party custodians. There, he would have access to all the

governments and his own discovery. Upon release, Lang would also be able to
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adequately confer with counsel about fundamental decisions he must make alone,

including: first, whether to proceed to trial; second, what witnesses should be called

for the defense; third, necessary cross examination questions; fourth, the importance

of certain video evidence; fifth, how to utilize the video evidence in a light favorable

to the defense; and ultimately whether to testify on his own behalf. Barnes, 463 U.S.

at 751. This list is not all inclusive, but the point remains the same: when Lang is

involved in his case, he has the ability to bring things to the table, and if granted

hybrid representation the dynamic with counsel will be an ongoing project.

      For these reasons highlighted above and below, Mr. Lang’s detention warrants

further review of his temporary release under § 3142(i). Lang is a 28-year-old man,

with extensive ties to the community, who has no prior convictions for violent or

serious conduct; notably only has one minor drug related blemish on his record. On

January 6th, Lang did not remove barriers, did not possess any weapons, and did not

encourage or assist anyone else to do any of those things. He went to Washington,

DC on his own, without any connection to any group or organization.

      Thus, neither his background, nor his alleged criminal conduct “make[s] clear

that he poses a concrete prospective threat to public safety” as Munchel requires and

the Coffee case later explained. See also United States v. Klein, 533 F.Supp.3d 1

(D.D.C. 2021) (Bates, J.) (releasing defendant who engaged in violence, based on

defendant’s history and characteristics, and not finding a prospective risk).
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        A combination of the psychological treatment at the jail in conjunction with

the jail infrastructure creates an environment non-conducive to being able to prepare

for a complex criminal case. These conditions of confinement and the environment

therein would render anyone unable to adequately assist in his own defense or

contribute in a meaningful manner. In order to prepare a defense in a complicated,

criminal case - such requires an environment that allows for high level thinking. That

is why people go to a library to read or learn. High level, intelligent thinking and

processing requires a somewhat comfortable environment, or at least an environment

where one is not in constant fear. Lang’s current conditions can only be explained

as an environment that is insufficient to learning, improving, and adequately

assisting and contributing towards a legal defense.

        For all these reasons, Lang requests that he be temporarily released before and

during trial, at which time he will remain within the district under the supervision of

third-party custodians, that being his Father and Mother. Persico, 1986 WL 3793, at

p. 1.

        B. BRA Section 3142 (i) Assured that the Accused Be Released to Prepare
           his Own Trial.

        Respectfully, these allegations along with Lang’s history do not support that

“no set of conditions” could reasonably assure his appearance in court, as it would

be inappropriate and unfounded to conclude that he is a future danger. 18 U.S.C. §

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3142(e)(1).4 Thus, the limited issue here is whether Lang should be immediately

released under the Bail Reform Act (“BRA”)’s subsection (i), which should be

narrowly applied to pretrial detainees when its “necessary for preparation of the

person’s defense or for another compelling reason.” 18 U.S.C. § 3142(i).

         The BRA stresses 5 liberty as the norm, and only in extreme cases does

detention apply. The conditions Lang requests, combined with his history of

upstanding citizenship, pose no articulable reason the Government can cite in

support of their position that Lang presents an identifiable threat to the

community or local law enforcement. Further, all of Lang’s communications,

social media accounts, and movements can be monitored on home-detention.

         Again-and-again, we have requested to be heard on how Lang’s case also

stands for a few other principles. The first principle is that better access to

discovery can present the constitutionally afforded with the best defense; the

second principle is that, when a defendant has established that they are a great

asset in reviewing discovery and has countlessly sought to be involved in his

own defense they should be allowed to be an active participant and, the third

principle is that release is necessary to comport with the Sixth Amendment; and

4
  A review of the record in this matter does not show that the government has not advanced an
argument that Lang is a flight risk. Therefore, such is addressed briefly because it is our position
that such need not be addressed until such time that the Government advances the argument.
5
    On December 31, 2020, the Bond Reform Act of 2020 was presented in Congress.
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fourth, how a particular defendant’s confinement substantially prejudices his

ability to communicate and assist in his defense, and such prejudice applies to a

BRA analysis under subsection (i).

      C.     Lang’s Ability to Prepare a Defense Has Been Substantially
             Prejudiced, and the Prospect of a Distant Trial in 2024.

       Lang’s story in the last 4 months is troublesome. As jail policies drastically

differ from jail-to-jail, being continuously transferred makes it extremely difficult

for everyone, even defense counsel, to communicate with Lang.

       Lang was arrested in January 2021, and since then transferred to over

fourteen different jails throughout the country. More alarmingly, he has been in

solitary confinement for the past four months, and currently going on 24 months

total in a solitary confinement setting. (See Dr. Berrill’s Report dated December

22, 2023 at p. 2, attached as Exhibit A, explaining the amount of time Lang has been

confined to cell during certain months of his solitary confinement).

       As stated in previous applications, Lang respectfully requests this Court

to consider other compelling reasons for pre-trial release. First, Lang has been

held for approximately 36-months6 in pre-trial confinement. Second, his trial is

currently scheduled months from now. Third, there is no definitive date as to



6
  It is fully acknowledged that extensions and adjournment were either at the defense request, and
that tolling the speedy trial time was consented to.
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when the Writ in Fisher v. US will be heard or decided, further casting doubt

about the viability of his case that will be tried months from now. Lastly,

discovery in this case is voluminous, and Lang has stressed his willingness and

eagerness to not only participate in his own defense, but to also be a vital part

of discovery review and his trial preparation.

      Furthermore, we ask this Court to consider this matter based on the how

section 3142(i) was carefully reviewed in the Ryan Nichols case. (See US v. Nichols,

1:21-CR-00117 (TFH) at ECF Doc. 150). Section 3142(i) highlights that after an

initial determination of pre-trial detention, the Bail Reform Act provides that a

“judicial officer may, by subsequent order, permit the temporary release of the

person, in the custody of a United States marshal or another appropriate person, to

the extent that the judicial officer determines such release to be necessary for

preparation of the person’s defense or for another compelling reason.” 18 U.S.C. §

3142(i).

      Under this statutory provision, the defendant otherwise subject to pretrial

detention, may be granted temporary release by showing the presence of two (2)

factors: (1) that his temporary release is necessary for the preparation of his defense

or another compelling reason; and, (2) that he could be released to the custody of the

an “appropriate person.” United States v. Dhavale, No. 19-mj-00092, 2020 U.S.

Dist. LEXIS 69800, at 12-13 (D.D.C. Apr. 21, 2020).
                                     Page 13 of 22
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       Again, Lang was unarmed on January 6th. As a U.S. citizen, he appeared to

stand for Liberty, the Constitution, and assert his First Amendment Rights. Now,

Lang stands charged under a Superseding Indictment, where the above sections

establish just how necessary the defense believes Lang’s temporary release is so as

to afford him the opportunity to prepare for trial. Lang was arrested exactly three

years ago, January 16, 2021. The last two weekends the lights in his cell have been

completely out, and officers have mistakenly taken Lang’s laptop charger.

Essentially, Lang cannot operate or work under theses conditions. Lang cannot use

his computer, and even if he could he does not have access to Relativity or Evidence.

com.

       Going back to Lang’s first bond application, this Court asked counsel in

substance for similar case law as to afford Lang the ability to prepare his defense,

while out on pretrial bond. Specifically, this Court asked “[a]re you aware of a

decision holding that a defendant who should otherwise be detained should

nevertheless be released just in order to allow the defendant to participate in pretrial

discovery?” (See September 20, 2021 Minutes at p. 9, ¶ 21-24). The Nicolas case

did not establish this vital factor at the time. US v. Nichols, 1:21-CR-00117 (TFH)

at ECF Doc. 150.

       In the Nicolas case, the Defendant was granted independent access to

Relativity while he was incarcerated, pretrial. The jail could not comply or grant
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defendant Nicolas the access he needed to be able to obtain access to Relativity. So,

defendant Nicolas made a motion to released on pretrial bond, and in such request

he set forth an independent third party, who could monitor Defendant Nicolas ability

and access to Relativity. Such request, inter alai, was taken into consideration of

Nicolas being released under 18 U.S.C. § 3142(i).

       Respectfully, if the Court is not amenable to release Lang on personal

recognizance, defendant moves this Court to release him into the third-party custody

of his father, and commit Lang to the supervision of a High Intensity Supervision

Program (HISP) with GPS monitoring by local Pretrial Services. The charges from

this case stem from the events that took place on January 6, 2021 at the U.S. Capitol.

The allegations are serious, controversy never ending, and the smear tactics

deployed against every January Sixth protestor seem to know no bounds. Lang

stands in a unique position to be able to have hybrid representation. And that fact,

standing alone, establishes a meaningful position as to why Lang should have access

to Relativity.7

       Additionally, J6 defendants charged with much more serious conduct have

been release on pretrial bond. (See United States v. Michael Foy8, charged, inter alia,


7
  See United States v. Salerno, 481 U.S. 739, 755 (1987) (highlighting “[i]n our society liberty is
the norm, and detention prior to trial or without trial is the carefully limited exception”).
8
  https://www.justice.gov/usao-dc/defendants/foy-michael-joseph

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Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon).

Based on the above, Mr. Lang seeks a in person hearing, where he can address the

accusations made against Mr. Foy, and make compassions and distinctions as to why

Mr. Lang should also be released on pretrial bond.

        Lang’s father also can provide supervision for Lang to obtain and have daily

access to Relativity. In our request, we respectfully ask that Lang’s father be

appointed as a third party to monitor Lang’s access to Relativity.

        Now, we respectfully request this Court to consider how Lang’s

circumstances have drastically changed in conjunction with recent case law

supporting such position.

        For these reasons, and many more, we respectfully request this Court make a

finding, on section 3142(i) grounds, thereby allowing Lang to be heard in person as

to the instant request that he be temporarily released before and during trial.

   D.     The Cert in Fisher v. US was granted, and Lang’s similar Cert will
          most likely be stayed and track the Fisher case, for an uncertain
          period of time.

     As stated in a recent New York Times article when discussing the Cert in

Fisher, “A ruling by the Supreme Court could affect the cases of hundreds of people

charged in connection with the Capitol attack”. See ALAN FEUER AND ADAM LIPTAK,

Justices to Decide Scope of Obstruction Charge Central to Trump’s Jan. 6 Case

(New York Times, December 13, 2023) (last visited January 3, 2024). Being that the
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Supreme Court, is considering an issue that is directly relevant to Lang’s case, which

can also result in the dismissal of the main counts, it is respectfully submitted that

this factor now be taken into consideration in determining Lang’s pretrial bond.

        The Fisher case and importance of this upcoming decision played a role in

extending the trial in the Lang case. Collectively these two factors should be

considered with the other arguments made above, and previously to this Court.

Under all of these circumstances it is appropriate that Lang be temporary released

on pretrial bond.

   E.    The Fisher case has resulted in at least three Defendants being
         released on Bond pending appeal, after each has been convicted of
         1512 charges.

        Since the Supreme Court granting cert on United States v. Fischer, three

defendants, who were found guilty of 18 USSC 1512 (c)(2) were released. The three

defendants (Matthew Bledsoe, Thomas Adams and Alexander Sheppard) were

released on bond, pending appeal. Primarily, they were all released because their

appeals raised a substantial question. “[A] substantial question” means “a close

question or one that very well could be decided the other way.” United States v.

Perholtz, 836 F.2d 554, 555 (D.C. Cir. 1987).

        This is a “demanding standard . . . to accord with the expressed congressional

intent to increase the required showing on the part of the defendant.” Id. at 555–56.

The question on appeal of whether the conduct for which defendant has been
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convicted in Count One falls within Section 1512(c)(2)’s ambit satisfies this

standard, as other Judges on this Court considering the same issue have found. See

Sheppard, 2024 WL 127016, at 3; United States v. Adams, No. 21-cr-354 (APM),

2024 WL 111802, at 2 (D.D.C. Jan. 10, 2024); United States v. Clark, No. 21-cr-538

(DLF) (D.D.C. Dec. 21, 2023) (granting defendant’s motion to stay self-surrender

date pending resolution of Fischer).

       In the Adams case, defendant filed a motion for release pending appeal which

was granted, whereby the court relied on 18 U.S.C. 3143 (b)(1). “Under 18 U.S.C.

§ 3143(b)(1), a court “shall order the release” of an individual pending appeal if it

finds: “(A) by clear and convincing evidence that the person is not likely to flee or

pose a danger to the safety of any other person or the community if released”; and

“(B) that the appeal is not for the purpose of delay and raises a substantial question

of law or fact likely to result in,” as relevant here, “(i) reversal . . . . [or] (iv) a reduced

sentence to a term of imprisonment less than the total of the time already served plus

the expected duration of the appeal process.” United States v. Adams, No. 21-cr-354

(APM), 2024 WL 111802, at 2 (D.D.C. Jan. 10, 2024).

       In their analysis the court stated that Defendants applicable guidelines range

would look quite different without a § 1512(c)(2) felony conviction. Essentially, the

court ruled that due defendants “likely reduced sentence” he should be released due

to his time already served.
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       In Sheppard, defendant also filed a motion for release from custody pending

an appeal. He argued that “the D.C. Circuit’s recent decisions in United States v.

Fischer, 64 F.4th 329 (D.C. Cir. 2023), and United States v. Robertson, 86 F.4th 355

(D.C. Cir. 2023), raised “substantial questions of law” about his felony conviction

under 18 U.S.C. § 1512(c)—specifically, whether the evidence sufficed to show

corrupt intent under the standard articulated in those decisions.” Sheppard, 2024

WL 127016.

      Sheppard became ripe after Adams. (Sheppard’s Notice of Suppl. Auth. [ECF

No. 140] (directing the Court to Mem. Op., United States v. Adams, Crim. A. No.

21-354 (APM) (D.D.C. Jan. 10, 2024), ECF No. 85 (“Adams Op.”)).)

      The Supreme Court is likely to decide Fischer by the end of its term in June

2024, when Sheppard will have served eight or nine months. By the time the

Supreme Court would issue a mandate, and the D.C. Circuit would evaluate the

application to Sheppard’s case and remand for resentencing, Sheppard could serve a

longer term of imprisonment than would be warranted by his remaining

convictions.” And ordered Sheppard be released.


       Lastly, in Bledstoe, the defendant filed for a motion for release pending

appeal, which was granted. The court stated in their discussion “that the appeal is

not for the purpose of delay and raises a substantial question of law or fact likely to
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result in—(i) reversal . . . or (iv) a reduced sentence to a term of imprisonment less

than the total of the time already served plus the expected duration of the appeal

process,” id. § 3143(b)(1)(B); see also Charles Alan Wright et al., 3B FED. PRAC.

& PROC. CRIM. § 770 (4th ed.).


     Here, unlike the defendants in Adams, Sheppard and Bledsoe, Lang has not

even been convicted, yet he remains remanded. Therefore, Lang should be granted

a higher standard as a pre-trial detainee. Further, the remedies the defense and this

Court has tried in the past have been chronically inadequate. The jail conditions have

created a repeated chain of abuses, which have formed into a pattern of behavior

directed against Mr. Lang. Such abuses would lead any logical mind to believe that

– even if these adverse conditions were relieved temporarily – Mr. Lang still would

not be able to perform in establishing a defense, or even assist in his own defense.

Therefore, the only remedy is to release him.


                                II. CONCLUSION

      For the aforementioned reasons, this Court should order Lang’s immediate

release to the custody of his father, Ned Lang, or his mother. For all of these reasons,

and any that may become apparent at a hearing on this matter, Mr. Lang respectfully

submits that he has independent access to Relativity and that he be released on


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pretrial bond, with a third party to monitor Lang’s access to Relativity. Such request

is reasonable in light of all the recent additional evidence that submitted herein.

      Wherefore, Mr. Lang respectfully requests that this Honorable Court release

him on high intensity supervision and conditions the Court deems necessary.

Dated: January 29, 2024

                                        Respectfully Submitted,

                                        /s/ Steven Alan Metcalf II
                                        _______________________________
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                          CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the foregoing has been served upon counsel
for all parties to this proceeding as identified below through the court’s electronic
filing system as follows:


                                              /s/
                                        ___________________________
                                        STEVEN A. METCALF II
                                        Attorney for Edward Jacob Lang
  Dated: 2/2/2024




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